                 Case 2:21-cv-01705-SKV Document 30 Filed 09/08/22 Page 1 of 2




 1                                                                  The Honorable S. Kate Vaughan

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9 TSR LLC,

10                              Plaintiff,                No. 2:21-cv-01705-SKV
11          v.
                                                          NOTICE OF APPEARANCE
12 WIZARDS OF THE COAST LLC,

13                              Defendant.
14
     WIZARDS OF THE COAST LLC,
15
                            Counterclaim Plaintiff,
16
            v.
17
   TSR LLC; JUSTIN LANASA; and DUNGEON
18 HOBBY SHOP MUSEUM LLC,

19                          Counterclaim Defendants.
20

21 TO:               Clerk of the Court;
22 AND TO:           All Parties and Counsel of Record.
23          PLEASE TAKE NOTICE that Rose McCarty of Davis Wright Tremaine LLP hereby
24 appears as counsel for Defendant/Counterclaim Plaintiff Wizards of the Coast LLC. All further

25 papers and pleadings, except original process, shall be served upon the undersigned at the

26 address below stated.

27

     NOTICE OF APPEARANCE                                                    Davis Wright Tremaine LLP
                                                                                      L AW O FFICE S
     (2:21-cv-01705-SKV) - 1                                                    920 Fifth Avenue, Suite 3300
                                                                                  Seattle, WA 98104-1610
                                                                           206.622.3150 main · 206.757.7700 fax
             Case 2:21-cv-01705-SKV Document 30 Filed 09/08/22 Page 2 of 2




 1         DATED this 8th day of September, 2022.

 2                                              Davis Wright Tremaine LLP
                                                Appearing Attorney for Wizards of the Coast
 3                                              LLC
 4
                                                By s/ Rose McCarty
 5                                                 Rose McCarty, WSBA No. 54282
                                                   920 Fifth Avenue, Suite 3300
 6                                                 Seattle, WA 98104-1610
                                                   Telephone: (206) 622-3150
 7                                                 Fax: (206) 757-7700
                                                   Email: rosemccarty@dwt.com
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